Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 1 of 19
O4N3MENC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Vv. 23 CR 490 (SHS)

ROBERT MENENDEZ, WAEL HANA,
and FRED DAIBES,

Defendants.

New York, N.Y.
April 23, 2024
2:30 p.m.

Before:
HON. SIDNEY H. STEIN,

District Judge

APPEARANCES

DAMIAN WILLIAMS

United States Attorney for the

Southern District of New York
ELI Jd. MARK
DANIEL C. RICHENTHAL

Assistant United States Attorneys

-and-

CHRISTINA A. CLARK, National Security Division

PAUL HASTINGS, LLP
Attorneys for Defendant Menendez
ADAM FEE

GIBBONS, PC
Attorneys for Defendant Hana
LAWRENCE S. LUSTBERG
ANNE M. COLLART
CHRISTINA LaBRUNO

CESAR de CASTRO
Attorney for Defendant Daibes

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 2 of 19
O4N3MENC

THE COURT: Counsel, why don't you make your
appearances, please.

MR. MARK: Good afternoon, your Honor. Eli Mark on
behalf of the government. With me at counsel table is
Christina Clark of the National Security Division, and Daniel
Richenthal of my office.

MR. FEE: For Senator Menendez, Adam Fee.

MR. LUSTBERG: Larry Lustberg with Anne Collart and
Christina LaBruno on behalf of Mr. Hana.

MR. DE CASTRO: Cesar de Castro for Mr. Daibes.

THE COURT: This was to be our Section 6 conference,
and I understand the parties are talking to each other and they
want a brief adjournment of this conference, which is fine with
me.

Have you talked amongst yourselves? What is the
proposal for the adjourned date and time?

MR. MARK: Yes, your Honor. We've been conferring and
have conferred a number of times. We anticipate that we might
be able to moot some of the issues on the classified
information that was noticed. There are five items. I think
we might be able to moot some, but not necessarily all. I
understand the defense would like an opportunity to put ina
submission by Thursday, so two days from today.

THE COURT: What type of submission?

MR. LUSTBERG: Sure.

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 3 of 19

O4N3MENC

THE COURT: This is a supplemental Section 5?

MR. LUSTBERG: Yes, your Honor. So, we got the
government's 48-page submission in the SCIF earlier today. It
was just filed, as I think you know, late Friday, which was the
same day as we got all of our 3500 material.

We would like to file a short letter responding with
respect to some of the evidence issues that are raised, and
particularly the hearsay issues that are raised there. And
again, it would be a joint submission on behalf of all the
defendants, so it wouldn't tax the Court more than it needs to
be. I do anticipate it will be short, a few pages.

And we've talked to the government about timing, and
the idea is we would get it -- I think we discussed getting it
to the government on Thursday. So we are just looking for two
days to do that.

MR. MARK: And over that period of time, your Honor,
as in our submission, there is one item of information that we
proposed we might be able to work around with a stipulation.
The parties have already talked about what the form of that
stipulation might do, which could potentially moot the notice
that's to summary substitution no. 2. And we understand that
defense is going to -- we're going to work on that stipulation
and see if that's something we will be able to present to your
Honor and that can moot that one item of information that's

noticed.

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 4 of 19
O4N3MENC

We also said that the government is open to
considering stipulations as towards -- that could moot issues
as to the other information, where there might be other
unclassified information that normally we would be able to
raise certain hearsay objections to, whether we might be able
to work around that as to other issues.

So I think parties will take that time, not just for
the defense to put in a submission, but also see whether we can
work around the issues as to other classified information.

The government would then anticipate we would probably
come before your Honor for a hearing. We talked about whether
the Court would be willing for Friday to have a hearing on
whatever remaining issues that might exist, for the Court to
determine whether the remaining noticed information is actually
admissible.

If the Court were to make such a determination at that
point in time, then the government would needed to go back to
the stakeholders, because we would be dealing with classified
information, we would need time to confer with the stakeholders
and determine what sort of proposal we would make in a Section
6(c).

THE COURT: I'm not here Thursday afternoon or Friday,
so that's not a possibility.

I want any evidentiary submission, that is a

submission arguing the evidentiary points, to me by -- let's

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 5 of 19

O4N3MENC

make it 4 p.m. tomorrow, Tuesday. 5 p.m. Tuesday.

MR. FEE: Wednesday, your Honor.

THE COURT: Wednesday, thank you. Have that to me by
5 p.m. on Wednesday.

Mr. Rucker, that's going to be sealed so you'll get
that to me?

MR. RUCKER: Yes, your Honor, I will.

THE COURT: I want to give the parties the time they
need to talk this through. By the same token, I'd rather have
the conference on Thursday. Can we do it Thursday morning?
Something like 11 a.m.? Will that, again, I want the parties
to have time to try to reduce the core issues before me. If
not, we'll do it Monday morning.

MR. LUSTBERG: I'm concerned, I actually think that --
well, that will be enough time for us to get you our objections
and to talk about those. I'ma little more concerned about
getting to a stipulation that quickly.

THE COURT: Monday early afternoon.

MR. MARK: TI think that's right. And right now we've
proposed a stipulation that might moot concerns as to one item
of noticed information. We're open to the defense if there are
other ways to moot certain information, we'll also consider
that as well.

So I think Monday, we understand -- the one thing we

want to flag for your Honor is that it obviously, to the extent

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 6 of 19

O4N3MENC

we do go to 6(c), that obviously will take time with the
relevant stakeholders.

THE COURT: I understand.

MR. MARK: I think Monday will give us enough time for
the trial date of May 13.

THE COURT: Defense will get me the evidentiary
submission by tomorrow at 5. We will have Section 6, not ex
parte but sealed conference at 3 p.m. Monday, April 29. I have
some other matters on just before that, but I should be clear
at or around 3 p.m.

Let's move the final pretrial conference to Thursday
morning, ll a.m. Can the parties does that.

MR. LUSTBERG: So, your Honor, one of the great things
about the extension of the trial date that you granted was that
I have a daughter who is getting married the next day in
California. So I'm out Wednesday, Thursday and Friday of next
week. If it was done in some remote fashion, I could make that
happen. But, I was actually going to ask if the Court would
just push the pretrial conference a few -- or an hour later for
other reasons, but that's going to be difficult for me. There
are other people on my team that could handle it I suppose.

THE COURT: Well, first things first. I want you to
handle your daughter's marriage, obviously.

MR. LUSTBERG: I'm having a hard time with that too.

THE COURT: You do have a solid trial team behind you.

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 7 of 19
O4N3MENC

And if we do it Wednesday, what does the wedding schedule look
like on Wednesday?

MR. LUSTBERG: I'm flying out there, it's in
California, on Wednesday. So really the rest, from then on.

THE COURT: When do you fly out?

MR. LUSTBERG: 9 a.m. flight on Wednesday. But again,
I'm happy to -- for the pretrial to have someone else cover it.
I mean, I wonder, since the trial date has been put off, can we
potentially could do it, consistent with what we were going to
do before, even Monday?

THE COURT: We could do it May 6. I don't see that as
a major event, the final pretrial conference. I do want to fit
in -- I do want to fit in time for discussion with the parties
of the in limines. I've gone through them, I feel I have a
good grasp of them, but I would like to be able to talk with
the parties about it. I'ma little reluctant to do it. But
Monday, May 6.

MR. MARK: That works for the government.

MR. LUSTBERG: Thank you.

MR. FEE: Makes sense, your Honor.

THE COURT: Monday, May 6, 11 a.m. final pretrial
conference.

Government, you were going to get me that stip that
the parties agreed to. I wanted to have it to take a look at
it.

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 8 of 19

O4N3MENC

MR. MARK: Your Honor, we submitted a copy by e-mail
to the Court's deputy. We submitted in that fashion because it
references a number of third parties.

THE COURT: I didn't realize that had happened.

MR. MARK: We can resend that.

THE COURT: Just a moment. It's already been filed.

MR. MARK: Excellent.

THE COURT: I have a very efficient deputy.

Final pretrial conference Monday, May 6, 11 a.m.
Section 6 conference 3 p.m. Monday, April 29.

Mr. Lustberg, I want to retain the ability to talk
about those in limines on Wednesday, Thursday, or Friday. I'll
try to avoid that, but if need be, you have a team and I'm sure
you've gone over those issues.

MR. LUSTBERG: Sure, Judge. I would love to be
present, but if you need to do it those days, I understand.

THE COURT: Okay. I think that's it.

MR. MARK: And the government will be available then
if that's the Court's preference. We just wanted to make the
Court aware that in addition to the motions in limine that were
filed, we received notice for certain defense experts. At
present, the government's intending to file some sort of
response with the Court.

THE COURT: I want the notice and I want the response.

MR. MARK: And we would intend do that next week, your

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 9 of 19

O4N3MENC

Honor.

THE COURT: Do it as soon as you can.

MR. MARK: We will, your Honor.

THE COURT: Who are the experts who have been noticed?
What experts?

MR. FEE: Your Honor, we've noticed a financial
analyst who assesses the senator's spending habits, given that
they've been made an issue here. That's one. And the second
is a psychiatrist, your Honor, who has examined Senator
Menendez.

THE COURT: What's the theory of the mental state?

MR. FEE: Your Honor, it goes to the habit of storing
cash in his home.

THE COURT: He can testify to that, right?

MR. FEE: Yes, your Honor. And this will be the
subject I expect of the debate with the Court. There are -- as
the psychiatrist would put it, not my words -- traumatic
experiences in his past associated with cash and finances that,
in her opinion, inform a condition that has led to this habit.

THE COURT: Government?

MR. MARK: I think Mr. Richenthal is the attorney who
is going to be dealing with these motions, if I may give it to
him.

MR. RICHENTHAL: The motions aren't drafted yet. With

those grains of salt, I am happy to explain our concern with

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 10 of 19

10
O4N3MENC

both those experts. Mr. Hana has also noticed an expert who we
have concerns about as well.

MR. LUSTBERG: Two. One is in case there are
differences in translations from the Arabic. So we don't
have -- some of the transcripts we've gotten very recently and
there may be differences. And as we said in our notice, only
if there are differences will we need an expert to testify as
to the different translations. The other is --

THE COURT: I don't think I'd have an issue with that,
but go ahead.

MR. LUSTBERG: The other is Mr. Hana, there has been
an issue has been made as to how Mr. Hana has been able to get
the halal business he did. And part of that is rooted in
Egyptian history, and in particular in the way that the current
Egyptian administration has rejected the Muslim Brotherhood
which was the -- which previously had the halal contract. So
we have an expert who will be prepared to testify as to that
arc of Egyptian history, and the fact that this current
administration has rejected the prior reliance on Muslim
Brotherhood based businesses. So it is a historical expert.

THE COURT: Why do I need an expert on that opposed to
somebody who can talk about it?

MR. LUSTBERG: Perhaps somebody can talk about it.

But we didn't see anybody on the witness list who could. And

it is a historian who can lay this out. Because this is, seems

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 11 of 19

11
O04N3MENC

to me --

THE COURT: Why is that -- again, I am just thinking
this off the top. But why is that an expert?

MR. LUSTBERG: Because somebody who understands
Egyptian history, and can apply it. It is not even applying.
It is just to lay out the Egyptian history, to lay out the
context for -- that's what it is.

MR. RICHENTHAL: I'm happy to respond with a preview
of our concerns or your Honor can wait for the papers.

THE COURT: No, I'd like it.

MR. RICHENTHAL: Taking them I think in the order that
Mr. Fee and Mr. Lustberg set forth.

So first as to the financial person that Mr. Menendez
has noticed, our concern is not that someone can't testify to
review of financial records. Indeed, we may have the same
thing. Summary witnesses are not uncommon. I think probably
in this case it is probably an efficient use of the party and
the jury's time.

Our concern is no such expert on either side should
purport to have an opinion about other facts. A person can say
I reviewed a bank statement and a statement shows X and Y and Z
and a person could aggregate sums. But to then say from there,
what it means, what was found in the home, things like that, is
not in our judgment appropriate for expert testimony at all.

There are numerous lay witnesses who could or could not testify

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 12 of 19

12
O4N3MENC

to those facts.

So as to that person, our objection isn't to that
human being taking the stand. It is to the scope of what
should be permitted, and whether the person should be qualified
as an expert or simply presented as a summary witness.

THE COURT: I take it each of your expert notices set
forth the opinions.

MR. FEE: That's right, your Honor.

MR. LUSTBERG: Just summaries, of course, yes,
consistent with the rule.

MR. RICHENTHAL: I would add, as to the person I just
talked about and as to the forensic psychologist, who I'll talk
about in a moment, we also have concerns about the adequacy of
the notice. And I'm flagging that because your Honor just
talked about the notice. In particular, it appears that both
individuals, not just the psychologist, spoke with
Mr. Menendez. And yet the nature of those conversations, the
extent of those conversations and whatnot are not, in our
judgment, sufficiently provided in the notice.

In addition, at least one of the two notices of
Mr. Menendez is not signed by the alleged expert which is
required under Rule 16. The exhibits or lack thereof that were
reviewed, for example, bank records, that's the financial
person, were not noted in the notice. And as to the forensic
psychologist --

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 13 of 19

13
O4N3MENC

THE COURT: I believe they have to be.

MR. RICHENTHAL: That's our view. We've advised the
defense over the weekend we thought the notice was
insufficient. They said they'll circle back with us. I expect
they'11 do that, but I can't respond to something I haven't yet
seen.

As to the forensic psychologist, irrespective of the
adequacy of the notice, there are two issues. One, while the
defense has couched this as a Rule 16 expert, we have some real
concern that what this really is is a Rule 12.1 or 12.2 expert.
In other words --

THE COURT: That's what I was thinking.

MR. RICHENTHAL: Mental disease or defect. Under the
rules, as I'm sure the Court knows, we would be entitled with
the Court's authorization to examine Mr. Menendez. We've asked
for that opportunity. The defense has not responded yet. I
assume, again, they'll respond in good faith. But, that's an
issue.

But putting aside the procedures, and they're
important, notice is important, examination is important, but
just tabling all of that, our view at the core is this is just
wildly inappropriate as expert testimony.

The senator, his wife, potentially others, could talk
about a history of hoarding cash, if there is such a history.

They could talk about how they store cash or other items,

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 14 of 19

14
O4N3MENC

assuming there is some habit, or other appropriate testimony to
be given on those matters. It is not beyond the ken of the
average juror; indeed, it strikes me as classic fact testimony.

So we do have very serious concerns about the adequacy
of the notice and whether we'll be sufficiently able, in light
of the trial date, to examine the senator. We have core
concerns it is inadmissible on its face.

That's the quick version. I'm happy to talk about
those two or I can --

MR. FEE: Can I respond to those briefly?

THE COURT: This is just a preview. I want to be able
to get your submissions.

You can respond.

MR. FEE: Just briefly, we'll address with the
government the procedures and notice issues, and we have more
information to give.

Starting with the analyst, I think we could have
discussions with the government to try to narrow the scope of
the dispute. We're not going to have -- we're not going to put
somebody on to comment on other -- to make conclusions about
conduct. The analyst would only be looking at financial
spending history. And this is a reaction to the government
making clear in its own motions in limine that they are going
to make this a component of their argument. Essentially, the

senator was living beyond his means, had fancy tastes, and

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 15 of 19

15
O4N3MENC

that's why he needed to take bribes. It is a motive argument
that the government has introduced into the case. But I think
we can engage with them and perhaps address some of their
concerns.

On the psychiatrist, your Honor. You are going to
hear all this, I won't waste time. Mr. Richenthal just used
the word "hoarding." That is a characterization, and this is
exactly what renders this doctor appropriate for the jury to
understand what it means for someone to engage in a behavior
that many folks would use a word like hoarding to describe.
It's weird, I don't get it, it must indicate something
suspicious, when it is in fact actually a component of the DSM
that psychiatrists can describe based on an examination of a
person.

I don't want to go into the personal details, you'll
see it in the notices, your Honor. But there is a really
tragic personal history with the senator and his family that I
think the Court -- the Court should keep an open mind when it
hears the basis for the psychiatrist's opinion.

THE COURT: All right.

MR. RICHENTHAL: I will respond only briefly because I
don't want to turn this into ping pong, and it sounds like the
parties will be resting on the papers.

I am not trying to disparage a choice one might make

to keep cash. The question for the jury, in our judgment, the

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 16 of 19

16
O4N3MENC

only question on this point for the jury, is was the cash from
bribes or something else. That's a fact question. Not an
expert question. There are plenty of ways for Mr. Menendez to
put forth it's from something else, if he so wishes.

Our concern, to put a very fine point on it, is what
has happened is a psychologist has been retained to speak with
the senator, the senator's told a psychologist things, the
psychologist is now going to say those things, without our able
to cross-examine the senator. That's a problem. It is a very
serious problem. Even if the notices were sufficient -- and
let me also notice Mr. Fee has correctly, in my judgment,
referenced the Diagnostic Statistical Manual, the DSM. That's
mental disease or defect. There are notice obligations
triggered by the defense when they do that, including our
ability to examine Mr. Menendez.

Trial is looming. And this is a serious problem.

So again, there is a notice or procedural issue, and
there is a substantive issue. On the substance, I think the
parties are more than free to fight about where the money came
from The question is, is essentially an expert allowed to get
on the stand and say I've talked to Mr. Menendez, who we have
no right to call as a witness, he told me X, and I conclude
it's not from bribes. We have very serious concerns about the
admissibility of such testimony, even properly noticed.

Now as to the final expert to which I alluded, it is

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 17 of 19

17
O4N3MENC

Mr. Hana's historian. We obviously have no concern with the
proffered expert as to Arabic translations. My hope, my
expectation is it won't be necessary, that the parties will
agree on translations, and that is why I referred to one expert
of Mr. Hana we have concern about, not two.

As to the historian, there's two problems here in our
judgment. One, we are not alleging that Senator Menendez
caused Egypt to give the monopoly to Mr. Hana. We are alleging
that Senator Menendez took actions to stop the United States
Department of Agriculture from helping to get Egypt to remove
the monopoly, which is a separate point. I understand there is
a relationship in general between those two things, but they're
not the same thing.

But even if we were alleging that the monopoly were
obtained literally as a result of bribes, which we have never
alleged and do not intend to try to prove, it's again not
expert testimony. There were numerous people, in fact we are
going to call one, who was involved in this whole story about
why is there a monopoly, where the USDA think there shouldn't
be a monopoly, what has Egypt said about the monopoly. It's
classic fact testimony. What happened.

For an expert to talk about the history of Egypt, the
history of the Muslim Brotherhood, and for the expert to opine,
as a result this particular event must have occurred for

particular reasons, is improper. It's not even a historian's

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 18 of 19

18
O4N3MENC

role. A historian's role is past. This is not that far past.

We don't think it belongs in front of the jury. We
think it will result in a mini trial about the Muslim
Brotherhood in Egypt, which the Court may be aware is an
incredibly complicated subject. That organization is not even
recognized as a terrorist organization by the United States.
And it is going to turn the trial into something the trial need
not and should not be about.

THE COURT: When am I going to get these papers?

MR. RICHENTHAL: Our hope was to prepare and file them
by as soon as Monday. I don't know realistically we can do it
sooner. We can try, but our hope was to do it on or before
Monday.

I will say one reason I am saying that is we would
like to have a complete notice before we respond. We can
obviously respond in part. I'm referring now to both the
psychologist and the financial person.

THE COURT: No. We'll handle the notice first. All
right. Monday. Do it by Monday if you can.

MR. RICHENTHAL: We will do our best. We asked the
defense to revise the notice yesterday. We really hope we get
revised notices sooner rather than later.

THE COURT: That brings up something else. The
purpose of this conference was going to be a Section 6

conference. It's devolved into a unclassified discussion. It

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

24

25

Case 1:23-cr-00490-SHS Document 350 Filed 04/24/24 Page 19 of 19

19
O4N3MENC

seems to me this transcript should be released to the public.
I don't think we have said anything that's classified.

Can I turn to our CISO. I don't know whether you want
to go on the record, sir.

MR. RUCKER: I believe it's unclassified.

THE COURT: All right.

MR. MARK: Your Honor, we would just ask just for the
opportunity, since all this happened very quickly, to just have
the ability to just review that before there is a determination
on that, because there might have been some stray references.
I'm not saying there are. Out of prudence, the ability to
quickly review that, and we can request the transcript as
quickly as the court reporter is able to provide it.

THE COURT: All right. Thank you. You'll get it to
me by the end of the day.

Anything else?

MR. LUSTBERG: No, your Honor. Thank you.

(Adjourned)

SOUTHERN DISTRICT REPORTERS, P.C.
(212) 805-0300

